                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION


UNITED STATES OF AMERICA                                )      DOCKET NO. 1:06CR250/9
                                                        )
                 vs.                                    )      ORDER FOR DISMISSAL
                                                        )
LUIS ALBERTO SANCHEZ HERNANDEZ                          )


          THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment herein as to the captioned Defendant only.

          For cause shown,

          IT IS, THEREFORE, ORDERED that the Government’s motion is ALLOWED, and

indictment as it relates only to Luis Alberto Sanchez Hernandez is hereby DISMISSED

WITHOUT PREJUDICE.

          The Clerk is directed to transmit this Order electronically to the United States Attorney’s

Office, defense counsel, the United States Probation Office and the United States Marshal’s

Office.

                                                   Signed: November 29, 2007




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